                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 UNITED STATES OF AMERICA                          )
                                                   )
 v.                                                )   Case Number 3:22-cr-00282
                                                   )   JUDGE RICHARDSON
 [2] CADE COTHREN                                  )
                                                   )


                                             ORDER


       Defendant Cade Cothren’s Motion for Juror Questionnaire (Doc. No. 207) is DENIED on

the grounds that the relief requested is not feasible from an administrative standpoint at this stage

given when the motion was filed and on the grounds that the Court will give counsel adequate time

to inquire of potential jurors during the voir dire conducted during the jury selection process.



       IT IS SO ORDERED.

                                              ____________________________________
                                              ELI RICHARDSON
                                              UNITED STATES DISTRICT JUDGE




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